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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


CAROLYN ANN MILLER,

      Plaintiff,

vs.                                           Case No. 4:20cv514-MW-MAF

EBS SECURITY, INC.,
PRINTELLA BUCKHEAD, owner,

     Defendants.
______________________________/


                                  ORDER

      Service of the pro se Plaintiff’s third amended complaint, ECF No. 12,

was directed in February 2021, but was unsuccessful. ECF No. 13.

Another Order was entered which directed the United States Marshals

Office to serve the complaint on Plaintiff’s behalf pursuant to Rule 4(c)(3).

ECF No. 19. When two months had passed without a response, another

Order was entered requiring the Marshals Service to file a status update by

July 2, 2021. ECF No. 21. However, four days later an answer to the

complaint was filed by the Defendants. ECF No. 22. More recently, the

docket indicates the Marshals Service received the prior Order, ECF No.
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21. ECF No. 24. This Order shall immediately be provided to the Marshals

Service. In light of the answer, ECF No. 22, there is no need for a status

update.

      Accordingly, it is

      ORDERED:

      1. The Clerk of Court shall immediately provide a copy of this Order

to the United States Marshals Service.

      2. The Marshals Service is not required to file a response to the prior

Order or give an update as to service efforts.

      3. Plaintiff must file a notice to the Clerk’s Office in the event that

there is any change in her address. The Court will not seek to locate a

litigant. Thus, if mail is returned because it cannot be delivered to Plaintiff,

this case may be dismissed.

      4. The Clerk of Court shall return this file upon the filing of the Rule

26 Report, or no later than August 4, 2021.

      DONE AND ORDERED on June 25, 2021.


                                    S/ Martin A. Fitzpatrick
                                    MARTIN A. FITZPATRICK
                                    UNITED STATES MAGISTRATE JUDGE


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